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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA




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                                            )
In re: Oil Spill by the Oil Rig DEEPWATER   )       MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April      )
20, 2010                                    )       Section: J
                                            )
This Document Relates to: No. 10-1497,      )       Judge Barbier
No. 10-1630                                 )       Mag. Judge Shushan
                                            )
                                            )
                                            )
                                            )

                                NOTICE OF HEARING



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       PLEASE TAKE NOTICE that Federal Defendants’ Motion for Protective Order will be

brought for hearing on the 7th day of December, 2010, at 9:30 a.m. before the Honorable Carl

Barbier at the United States District Court for the Eastern District of Louisiana, 500 Poydras

Street, Room C268, New Orleans, Louisiana.


       Respectfully submitted this 15th day of November, 2010.




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